     Case 1:20-cv-02197-CKK Document 22-5 Filed 03/19/21 Page 1 of 7




                                     VAUGHN INDEX
                           Mays v. Federal Bureau of Prisons, et al.
                            Civil Action No. 1:20-cv-02197-CKK

                FOIA Request No. 2017-02957 – March 9, 2017 Release
                            Documents Withheld in Part

Page         Description               Exemption          Justification
Number
1            Request for               (b)(6)             Exemptions (b)(6) and (b)(7)(C)
             Transfer/Application      (b)(7)(C)          were applied to withhold the names
             of Management                                of third-party individuals.
             Variable                                     Disclosure of this information
                                                          would be an unwarranted invasion
                                                          into the personal privacy of these
                                                          third-parties.

2            UNICOR Work               (b)(6)             Exemptions (b)(6) and (b)(7)(C)
             Performance               (b)(7)(C)          were applied to withhold the names
             Document                                     of third-party individuals.
                                                          Disclosure of this information
                                                          would be an unwarranted invasion
                                                          into the personal privacy of these
                                                          third-parties.

3            UNICOR Work               None – released
             Performance               in full
             Evaluation Record


         FOIA Request No. 2017-02957 – August 3, 2017 Supplemental Release
                            Documents Withheld in Part

Page         Description               Exemption          Justification
Number
1            Yearly Chronological      None – released
             UNICOR Work               in full.
             Performance
             Evaluation Record
             (09-01-15 to 03-01-
             16)
2            UNICOR Industrial         None – released
             Employment/IPRS           in full
             Action Report
             (effective date 08-12-
             16)
                                              1
     Case 1:20-cv-02197-CKK Document 22-5 Filed 03/19/21 Page 2 of 7




Page       Description              Exemption         Justification
Number
3          UNICOR Industrial        None – released
           Employment/IPRS          in full
           Action Report
           (effective date 09-01-
           12)
4          UNICOR Industrial        None – released
           Employment/IPRS          in full
           Action Report
           (effective date 06-01-
           13)
5          UNICOR Industrial        None – released
           Employment/IPRS          in full
           Action Report
           (effective date 03-01-
           13)
6          UNICOR Industrial        None – released
           Employment/IPRS          in full
           Action Report
           (effective date 12-01-
           12)
7          UNICOR Industrial        None – released
           Employment/IPRS          in full
           Action Report
           (effective date 10-24-
           12)
8          UNICOR Work              None – released
           Performance              in full
           Document (8/11/16)
9          Yearly Chronological     None – released
           UNICOR Work              in full
           Performance
           Evaluation Record
           (09-01-15 to 06-01-
           16
10         UNICOR Work              None – released
           Performance              in full
           Evaluation Record
           (10-01-13 to 03-31-
           14)
11         UNICOR Industrial        None – released
           Employment/IPRS          in full
           Action Report
           (effective date 08-12-
           16)
                                           2
     Case 1:20-cv-02197-CKK Document 22-5 Filed 03/19/21 Page 3 of 7




              FOIA Request No. 2017-04802 – May 23, 2017 Release
                         Documents Withheld in Part

Page       Description             Exemption   Justification
Number
1          Inmate Investigative    (b)(6)      Exemptions (b)(6) and (b)(7)(C)
           Report – Page 1 of a    (b)(7)(C)   were applied to withhold the names
           three-page written      (b)(7)(F)   of third-party individuals.
           report of an                        Disclosure of this information would
           investigation into an               be an unwarranted invasion into the
           incident that                       personal privacy of these third-
           occurred on August                  parties.
           11, 2016, involving
           inmate Mays and an                  Exemption (b)(7)(F) was used to
           institution staff                   withhold the name of the staff
           member.                             member conducting the
                                               investigation, as well as inmate
                                               Mays’ suspected role in the incident,
                                               as this information could reasonably
                                               be expected to endanger the life or
                                               physical safety of third-party
                                               individuals.

2          Inmate Investigative    (b)(6)      Exemptions (b)(6) and (b)(7)(C)
           Report – Page 2 of      (b)(7)(C)   were applied to withhold the names
           the written report of   (b)(7)(F)   of third-party individuals.
           an investigation into               Disclosure of this information would
           an incident that                    be an unwarranted invasion into the
           occurred on August                  personal privacy of these third-
           11, 2016, involving                 parties.
           inmate Mays and an
           institution staff                   Exemption (b)(7)(F) was used to
           member.                             withhold the name of the staff
                                               member conducting the
                                               investigation, as well as information
                                               concerning inmate Mays’ security
                                               classification and information
                                               learned during the course of an
                                               interview with inmate Mays.
                                               Disclosure of this information could
                                               reasonably be expected to endanger
                                               the life or physical safety of third-
                                               party individuals.


                                          3
     Case 1:20-cv-02197-CKK Document 22-5 Filed 03/19/21 Page 4 of 7




Page       Description             Exemption    Justification
Number
3          Inmate Investigative    (b)(6)       Exemptions (b)(6) and (b)(7)(C)
           Report – Page 2 of      (b)(7)(C)    were applied to withhold the names
           the written report of   (b)(7)(F)    of third-party individuals.
           an investigation into                Disclosure of this information would
           an incident that                     be an unwarranted invasion into the
           occurred on August                   personal privacy of these third-
           11, 2016, involving                  parties.
           inmate Mays and an
           institution staff                    Exemption (b)(7)(F) was used to
           member.                              withhold the information gathered
                                                and reviewed during the course of
                                                the investigation, as well as the
                                                conclusions drawn as a result of the
                                                investigation and recommendations
                                                made to ensure the orderly running
                                                of the institution and the institution’s
                                                UNICOR operations. Disclosure of
                                                this information could reasonably be
                                                expected to endanger the life or
                                                physical safety of third-party
                                                individuals.


            FOIA Request No. 2017-07249 – October 31, 2017 Release
                    Documents Withheld in Part and in Full

Page       Description             Exemption    Justification
Number
1          Inmate Investigative (b)(6)          Exemptions (b)(6) and (b)(7)(C)
           Report – Page 1 of a (b)(7)(C)       were applied to withhold the names
           three-page written     (b)(7)(F)     of third-party individuals.
           report of an                         Disclosure of this information would
           investigation into an                be an unwarranted invasion into the
           incident that occurred               personal privacy of these third-
           on August 11, 2016,                  parties.
           involving inmate
           Mays and an                          Exemption (b)(7)(F) was used to
           institution staff                    withhold the name of the staff
           member.                              member conducting the
                                                investigation, as well as other staff
                                                members involved in the
                                                investigation, as this information
                                                could reasonably be expected to

                                          4
     Case 1:20-cv-02197-CKK Document 22-5 Filed 03/19/21 Page 5 of 7




Page       Description             Exemption   Justification
Number
                                               endanger the life or physical safety
                                               of third-party individuals.

2          Inmate Investigative    (b)(2)      Exemption (b)(2) was applied to the
           Report – Page 2 of      (b)(6)      information concerning the location
           the written report of   (b)(7)(C)   in which the interview of inmate
           an investigation into   (b)(7)(F)   Mays took place, as it is related
           an incident that                    solely to the internal practice of the
           occurred on August                  BOP regarding how and where
           11, 2016, involving                 inmate interviews are conducted.
           inmate Mays and an
           institution staff                   Exemptions (b)(6) and (b)(7)(C)
           member.                             were applied to withhold the names
                                               of third-party individuals.
                                               Disclosure of this information would
                                               be an unwarranted invasion into the
                                               personal privacy of these third-
                                               parties.

                                               Exemption (b)(7)(F) was used to
                                               withhold the name of the staff
                                               member conducting the
                                               investigation, as well as information
                                               concerning inmate Mays’ security
                                               classification and information
                                               learned during the course of an
                                               interview with inmate Mays.
                                               Disclosure of this information could
                                               reasonably be expected to endanger
                                               the life or physical safety of third-
                                               party individuals.
3          Inmate Investigative    (b)(2)      Exemption (b)(2) was applied to the
           Report – Page 2 of      (b)(5)      information concerning the
           the written report of   (b)(6)      information reviewed in the course
           an investigation into   (b)(7)(C)   of the investigation, as it is related
           an incident that        (b)(7)(F)   solely to the internal practices of the
           occurred on August                  BOP regarding the types of
           11, 2016, involving                 information considered during the
           inmate Mays and an                  course of an investigation.
           institution staff
           member.                             Exemption (b)(5) was applied to
                                               withhold the conclusions drawn, and
                                               recommendations made, following
                                               the investigation. Disclosure of this

                                          5
      Case 1:20-cv-02197-CKK Document 22-5 Filed 03/19/21 Page 6 of 7




Page        Description           Exemption        Justification
Number
                                                   deliberative information could pose
                                                   a risk to internal issues of safety and
                                                   security, as it concerns the manner in
                                                   which staff manage the orderly
                                                   running of the institution and the
                                                   institution’s UNICOR operations.

                                                   Exemptions (b)(6) and (b)(7)(C)
                                                   were applied to withhold the names
                                                   of third-party individuals, as well as
                                                   the information provided by staff
                                                   members during the course of the
                                                   investigation. Disclosure of this
                                                   information would be an
                                                   unwarranted invasion into the
                                                   personal privacy of these third-
                                                   parties.

                                                   Exemption (b)(7)(F) was used to
                                                   withhold the information gathered
                                                   and reviewed during the course of
                                                   the investigation, as well as the
                                                   conclusions drawn as a result of the
                                                   investigation and recommendations
                                                   made to ensure the orderly running
                                                   of the institution and the institution’s
                                                   UNICOR operations. Disclosure of
                                                   this information could reasonably be
                                                   expected to endanger the life or
                                                   physical safety of third-party
                                                   individuals.

4-8         Five (5) page flyer   None, released
                                  in full
9           Staff memorandum      (b)(6)           Exemptions (b)(6) and (b)(7)(C)
            dated August 11,      (b)(7)(C)        were applied to withhold the names
            2016, concerning      (b)(7)(F)        of third-party individuals.
            Inmate Joseph Mays,                    Disclosure of this information would
            Register Number                        be an unwarranted invasion into the
            42487-007                              personal privacy of these third-
                                                   parties.

                                                   Exemption (b)(7)(F) was used to
                                                   withhold the names of the staff
                                         6
     Case 1:20-cv-02197-CKK Document 22-5 Filed 03/19/21 Page 7 of 7




Page       Description           Exemption   Justification
Number
                                             member who authored the
                                             memorandum, as well as the staff
                                             member the memorandum was
                                             addressed to and the staff members
                                             referenced in the body of the
                                             memorandum. Disclosure of this
                                             information could reasonably be
                                             expected to endanger the life or
                                             physical safety of third-party
                                             individuals.
10         Staff memorandum      (b)(6)      Exemptions (b)(6) and (b)(7)(C)
           dated August 12,      (b)(7)(C)   were applied to withhold the names
           2016, concerning      (b)(7)(F)   of third-party individuals, including
           Inmate Joseph Mays,               both staff members and a third-party
           Register Number                   inmate. Disclosure of this
           42487-007                         information would be an
                                             unwarranted invasion into the
                                             personal privacy of these third-
                                             parties.

                                             Exemption (b)(7)(F) was used to
                                             withhold the memorandum in full, as
                                             it contains information provided a
                                             third-party inmate, and is concerning
                                             inmate Mays and statements made
                                             by him. Disclosure of this
                                             information could reasonably be
                                             expected to endanger the life or
                                             physical safety of third-party
                                             individuals.




                                        7
